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                                UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS



    IN RE BROILER CHICKEN ANTITRUST                     Case No. 1:16-cv-08637
    LITIGATION

                                                        The Honorable Thomas M. Durkin
    This Document Relates To: ALL CASES                 The Honorable Jeffery T. Gilbert



            DEFENDANTS’ RESPONSE TO DIRECT PURCHASER PLAINTIFFS’
             MOTION TO APPOINT SPECIAL MASTERS FOR SETTLEMENT

          Direct Purchaser Plaintiffs (DPPs) request that this Court now order the appointment of

Special Masters for Settlement because “the close of fact discovery is in sight” and DPPs share the

Court’s goal of expediently resolving this case. Dkt. 3866, Mot. to Appoint Special Masters

(“Mot.”) at 1.1 Defendants too share this goal. Indeed, Defendants are looking forward to

presenting—for the first time—their arguments and the evidence in opposition to class certification

and in favor of summary judgment. Defendants believe that expedient resolution may be achieved

through resolution of those motions.            Put simply, Defendants deserve their day in court.

Accordingly, Defendants oppose DPPs’ request for court-mandated settlement discussions

amongst all sixteen remaining Defendants, collectively, and the entire DPP class.

          This Court is well aware of the time, effort, and money all sides have invested in this case.

In the four years since DPPs first brought this lawsuit, Defendants have worked diligently to mount



1
      DPPs do not specify which parties they propose participate in settlement discussions should the Court
      grant their request to appoint Special Masters for Settlement. Because the Motion is not joined by
      either of the other two classes or any of the Direct-Action Plaintiffs, Defendants assume DPPs’ request
      is limited to the DPP class. For this reason, Defendants that previously settled with DPPs do not join
      this response.
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their defense. This has included serving hundreds of discovery requests, responding to hundreds

of discovery requests, producing millions of documents, taking over a hundred depositions,

defending over a hundred depositions, and retaining multiple experts. On the basis of this work,

the work yet to come—including dozens of depositions scheduled to take place in the coming

months—and the strength of their case, Defendants eagerly anticipate addressing Plaintiffs’ class

certification arguments and the merits of their supply reduction and Georgia Dock conspiracy

allegations. Defendants are not interested in negotiating a resolution through collective settlement

now, even before presenting this Court with the compelling evidence in their favor on class

certification and summary judgment. Accordingly, Defendants do not believe court-mandated

collective settlement discussions are warranted at this time.

       The DPPs’ request also makes no practical sense given the current status of the case. The

parties are all working tirelessly to complete fact discovery and prepare for upcoming briefing

during a global pandemic. DPPs highlight the remaining work on the horizon, Mot. at 2, but they

fail to acknowledge that Defendants must continue to litigate against the other two classes and

push forward with class certification briefing and expert work regardless of what transpires

between Defendants and DPPs. This is, of course, on top of defending against the allegations

brought by over 100 Direct Action Plaintiffs, who are currently attempting to expand and shift the

scope of their consolidated complaint. Court-mandated settlement discussions with DPPs at this

juncture will be a costly and time-consuming distraction during what is arguably the most critical

and busiest time in this case.

       Moreover, there is nothing preventing DPPs from entering into settlement discussions with

any one individual Defendant.        Indeed, DPPs have already settled with four individual

Defendants—Fieldale, Peco, George’s, and Amick. They are free to approach any other Defendant
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with a settlement offer, and vice versa. But Defendants should not be forced to the settlement

table, as a group, on the eve of significant and potentially dispositive motions, before they first

have a chance to present their evidence and arguments to the Court.

          For the reasons stated above, Defendants oppose DPPs’ request for entry of Order

appointing Special Masters for Settlement.2



    Dated: November 2, 2020                             Respectfully submitted,


                                                        /s/ Daniel E. Laytin, P.C.
                                                        Daniel E. Laytin, P.C.
                                                        Christa C. Cottrell, P.C.
                                                        Stacy Pepper
                                                        KIRKLAND & ELLIS LLP
                                                        300 North LaSalle Street
                                                        Chicago, IL 60654
                                                        (312) 862-2000
                                                        dlaytin@kirkland.com
                                                        ccottrell@kirkland.com
                                                        stacy.pepper@kirkland.com

                                                        Attorneys for Defendants Sanderson Farms,
                                                        Inc., Sanderson Farms, Inc. (Processing
                                                        Division), Sanderson Farms, Inc. (Production
                                                        Division), & Sanderson Farms, Inc. (Foods
                                                        Division) and Liaison Counsel for Defendants




2
      DPPs took the liberty of contacting Judges Castillo and Denlow before notifying Defendants of their
      intention to file this motion. Defendants have great respect for Judges Castillo and Denlow. However,
      given Defendants’ position on this motion, Defendants do not believe that either should be appointed
      at this time. Should Defendants’ position change or if the Court decides to appoint one or more Special
      Masters, Defendants would be happy to meet and confer with DPPs on appropriate mediators for any
      mediation or settlement discussions.
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                              DEFENDANTS’ ATTORNEYS

WEIL GOTSHAL & MANGES LLP                   VENABLE LLP

By: /s/ Carrie C. Mahan                     By: /s/ J. Douglas Baldridge
Carrie C. Mahan (#459802)                   J. Douglas Baldridge (#437678)
Christopher J. Abbott (#1014487)            Lisa Jose Fales (admitted pro hac vice)
2001 M Street N.W., Ste. 600                Danielle Foley (admitted pro hac
Washington, D.C. 20036                      vice)Andrew Hernacki (admitted pro hac
Telephone: (202) 682-7000                   vice)
Facsimile: (202) 857-0940                   600 Massachusetts Avenue, NW
carrie.mahan@weil.com                       Washington, DC 20001
christopher.abbott@weil.com                 Telephone: (202) 344-4000
                                            Facsimile: 202-344-8300
Jessica L. Falk (#4763686)                  jdbaldridge@venable.com
767 Fifth Avenue                            ljfales@venable.com
New York, NY 10153                          drfoley@venable.com
Telephone: 212-310-8000                     athernacki@venable.com
Facsimile: 212-310-8007
jessica.falk@weil.com                       FALKENBERG IVES LLP

BAILEY BRAUER PLLC                          Kirstin B. Ives
                                            30 N. LaSalle St., Ste 4020
Clayton E. Bailey (admitted pro hac vice)   Chicago, IL 60602
8350 N. Central Expressway, Ste. 206        Telephone: (312) 566-4803
Dallas, TX 75206                            Facsimile: (312) 566-4810
Telephone: (214) 360-7433                   kbi@ffilaw.com
Facsimile: (214) 360-7424
cbailey@baileybrauer.com                    Attorneys for Defendants Perdue Farms, Inc.
                                            and Perdue Foods LLC
EIMER STAHL LLP

Michael L. McCluggage (#01820966)
224 South Michigan Avenue, Ste. 1100
Chicago, IL 60604
Telephone: (312) 660-7665
Facsimile: (312) 692-1718
mmccluggage@eimerstahl.com

Attorneys for Defendant Pilgrim’s Pride
Corporation
Case: 1:16-cv-08637 Document #: 3979 Filed: 11/02/20 Page 5 of 11 PageID #:268720




By: /s/ John W. Treece                      MAYER BROWN LLP
John W. Treece (#3122889)
1135 West Montana Street                    By: /s/ Carmine R. Zarlenga
Chicago, IL 60614                           Carmine R. Zarlenga (#90784529)
Telephone: (312) 961-7808                   William H. Stallings (admitted pro hac vice)
jtreece@jwtreece.com                        Stephen M. Medlock (admitted pro hac vice)
                                            Oral D. Pottinger (admitted pro hac vice)
ROSE LAW FIRM                               1999 K Street N.W.
                                            Washington, DC 20006
Amanda K. Wofford (admitted pro hac vice)   Telephone: (202) 263-3000
Bourgon Reynolds (admitted pro hac vice)    Facsimile: (202) 263-3300
120 East Fourth Street                      czarlenga@mayerbrown.com
Little Rock, Arkansas 72201                 wstallings@mayerbrown.com
Telephone: (501) 375-9131                   smedlock@mayerbrown.com
Facsimile: (501) 375-1309                   opottinger@mayerbrown.com
awofford@roselawfirm.com
breynolds@roselawfirm.com                   Attorneys for Defendant Foster Farms, LLC
                                            and Foster Poultry Farms, a California
Attorneys for Defendants Mountaire Farms    Corporation
Inc., Mountaire Farms, LLC and Mountaire
Farms of Delaware, Inc.
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NOVACK AND MACEY LLP                          KIRKLAND & ELLIS LLP

By: /s/ Stephen Novack                        By: /s/ Daniel E. Laytin, P.C.
Stephen Novack                                Daniel E. Laytin, P.C.
Stephen J. Siegel                             Christa C. Cottrell, P.C.
Christopher S. Moore                          Stacy Pepper
100 North Riverside Plaza                     300 North LaSalle Street
Chicago, IL 60606                             Chicago, IL 60654
Telephone: (312) 419-6900                     Telephone: (312) 862-2000
Facsimile: (312) 419-6928                     Facsimile: (312) 862-2200
snovack@novackmacey.com                       dlaytin@kirkland.com
ssiegel@novackmacey.com                       ccottrell@kirkland.com
cmoore@novackmacey.com                        stacy.pepper@kirkland.com

Attorneys for Defendants Koch Foods           Attorneys for Defendants Sanderson Farms,
Incorporated, JCG Foods of Alabama LLC,       Inc., Sanderson Farms, Inc. (Foods Division),
JCG Foods of Georgia LLC and Koch Meat        Sanderson Farms, Inc. (Processing Division),
Co., Inc.                                     and Sanderson Farms, Inc. (Production
                                              Division) and Liaison Counsel for Defendants

VEDDER PRICE P.C.
                                              PROSKAUER ROSE LLP
By: /s/ Gregory G. Wrobel
Gregory G. Wrobel (#3122900)                  By: /s/ Christopher E. Ondeck
222 N. LaSalle Street                         Christopher E. Ondeck (admitted pro hac
Chicago, IL 60601                             vice)
Telephone: (312) 609-7722                     Stephen R. Chuk (admitted pro hac vice)
Facsimile: (312) 609-5005                     1001 Pennsylvania Ave., NW, Ste 600 South
gwrobel@vedderprice.com                       Washington, DC 20004
                                              Telephone: (202) 416-6800
JORDAN PRICE WALL GRAY JONES &                Facsimile: (202) 416-6899
CARLTON, PLLC                                 condeck@proskauer.com
                                              schuk@proskauer.com
Henry W. Jones, Jr. (admitted pro hac vice)
1951 Clark Avenue                             Attorneys for Wayne Farms LLC
Raleigh, NC 27605
Telephone: (919) 828-2501
Facsimile: (919) 834-8447
hjones@jordanprice.com

Attorneys for Defendant House of Raeford
Farms, Inc.
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KUTAK ROCK LLP                                EDWARD C. KONIECZNY LLC

By: /s/ John P. Passarelli                    By: /s/ Edward C. Konieczny
John P. Passarelli (admitted pro hac vice)    Edward C. Konieczny (admitted pro hac vice)
James M. Sulentic (admitted pro hac vice)     400 Colony Square, Ste 1501
1650 Farnam Street                            1201 Peachtree Street, NE
Omaha, NE 68102                               Atlanta, GA 30361
Telephone: (402) 346-6000                     Telephone: (404) 380-1430
Facsimile: (402) 346-1148                     Facsimile: (404) 382-6011
john.passarelli@kutakrock.com                 ed@koniecznylaw.com
james.sulentic@kutakrock.com
                                              SMITH, GAMBRELL & RUSSELL, LLP
J.R. Carroll (admitted pro hac vice)
Jeffrey M. Fletcher (admitted pro hac vice)   David C. Newman (admitted pro hac vice)
234 East Millsap Road, Ste 200                W. Parker Sanders (admitted pro hac vice)
Fayetteville, AR 72703-4099                   1230 Peachtree Street, N.E.
Telephone: (479) 973-4200                     Promenade, Ste 3100
Facsimile: (479) 973-0007                     Atlanta, GA 30309
jr.caroll@kutakrock.com                       Telephone: (404) 815-3500
Jeffrey.fletcher@kuakrock.com                 Facsimile: (404) 815-3509
                                              dnewman@sgrlaw.com
Kimberly M. Hare (#6323326)                   psanders@sgrlaw.com
One South Wacker Drive, Ste 2050
Chicago, IL 60606-4614                        James L. Thompson
Telephone: (312) 602-4100                     Lynch Thompson LLP
Facsimile: (312) 602-4101                     150 S. Wacker Drive, Suite 2600
kimberly.hare@kutakrock.com                   Chicago, IL 60606
                                              T: (312) 445-4623
Attorneys for Defendants O.K. Foods, Inc.,    F: (312) 896-5883
O.K. Farms, Inc., and O.K. Industries, Inc.   jthompson@lynchthompson.com

                                              Attorneys for Defendants Mar-Jac Poultry,
                                              Inc.
Case: 1:16-cv-08637 Document #: 3979 Filed: 11/02/20 Page 8 of 11 PageID #:268723




VAUGHAN & MURPHY                           HOGAN LOVELLS US LLP

By: /s/ Charles C. Murphy, Jr.             By: /s/ William L. Monts III
Charles C. Murphy, Jr. (admitted pro hac   William L. Monts III (admitted pro hac vice)
vice)                                      Justin W. Bernick (admitted pro hac vice)
690 S Ponce Court NE                       555 Thirteenth Street, N.W.
Atlanta, GA 30307                          Washington, D.C. 20004-1109
Telephone: (404) 667-0714                  Telephone: (202) 637-5910
Facsimile: (404) 529-4193                  Facsimile: (202) 637-5911
cmurphy@vaughanandmurphy.com               william.monts@hoganlovells.com
                                           justin.bernick@hoganlovells.com
WINSTON & STRAWN LLP
                                           MILLER, CANFIELD, PADDOCK, AND
James F. Herbison                          STONE P.L.C.
Michael P. Mayer
35 West Wacker Drive                       Jacob D. Koering
Chicago, Illinois 60601                    225 West Washington Street, Ste 2600
Telephone: (312) 558-5600                  Chicago, Illinois 60606
Facsimile: (312) 558-5700                  Telephone: (312) 460-4272
jherbison@winston.com                      Facsimile: (312) 460-4201
mmayer@winston.com                         koering@millercanfield.com

Attorneys for Defendant Norman W. Fries,   Attorneys for Defendant Agri Stats, Inc.
Inc. d/b/a Claxton Poultry Farms
Case: 1:16-cv-08637 Document #: 3979 Filed: 11/02/20 Page 9 of 11 PageID #:268724




SHOOK HARDY & BACON LLP                       AXINN, VELTROP & HARKRIDER LLP

By: /s/ Lynn H. Murray                        By: /s/ Rachel J. Adcox
Lynn H. Murray                                Rachel J. Adcox (#1001488)
111 S. Wacker Dr., Ste 4700                   Daniel K. Oakes (admitted pro hac vice)
Chicago IL 60606                              Kenina J. Lee (admitted pro hac vice)
Telephone: (312) 704-7700                     950 F Street NW, Ste 700
Facsimile: (312) 558-1195                     Telephone: (202) 912-4700
lhmurray@shb.com                              Facsimile: (202) 912-4701
                                              radcox@axinn.com
Laurie A. Novion                              doakes@axinn.com
2555 Grand Blvd.                              klee@axinn.com
Kansas City, MO 64108
Telephone: (816) 474-6550                     John M. Tanski (admitted pro hac vice)
Facsimile: (816) 421-5547                     Jarod G. Taylor (admitted pro hac vice)
lnovion@shb.com                               90 State House Square
                                              Hartford, CT 06103
CONNER & WINTERS                              Telephone: (860) 275-8100
                                              Facsimile: (860) 275-8101
John R. Elrod                                 jtanski@axinn.com
Vicki Bronson (admitted pro hac vice)         jtaylor@axinn.com
4375 N. Vantage Drive, Ste. 405
Fayetteville, AR 72703                        Nicholas E.O. Gaglio (admitted pro hac vice)
Telephone: (479) 582-5711                     114 West 47th Street
jelrod@cwlaw.com                              New York, NY 10036
vbronson@cwlaw.com                            Telephone: (212) 728-2200
                                              Facsimile: (212) 261-5654
Attorneys for Defendant Simmons Foods, Inc.   ngaglio@axinn.com
and Simmons Prepared Foods Inc.
                                              LIPE LYONS MURPHY NAHRSTADT &
                                              PONTIKIS, LTD.

                                              Jordan M. Tank
                                              230 West Monroe, Street, Ste 2260
                                              Chicago, IL 60606
                                              Telephone: (312) 702-0586
                                              Facsimile: (312) 726-2273
                                              jmt@lipelyons.com

                                              Attorneys for Defendants Tyson Foods, Inc.,
                                              Tyson Chicken, Inc., Tyson Breeders, Inc.,
                                              Tyson Poultry, Inc.
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 EVERSHEDS SUTHERLAND (US) LLP                JOSEPH D. CARNEY & ASSOCIATES LLC

 By: /s/ Patricia A. Gorham                   By: /s/ Joseph D. Carney
 James R. McGibbon (admitted pro hac vice)    Joseph D. Carney (admitted pro hac vice)
 Patricia A. Gorham (admitted pro hac vice)   Telephone: 440-249-0860
 Peter M. Szeremeta (admitted pro hac vice)   Facsimile: 866-270-1221
 Kaitlin A. Carreno (admitted pro hac vice)   jdc@jdcarney.com
 Dylan de Fouw (admitted pro hac vice)        case@jdcarney.com
 999 Peachtree Street, N.E., Ste 2300
 Atlanta, Georgia 30309-3996                  Office Address:
 Telephone: (404) 853-8000                    139 Crocker Park Boulevard, Ste. 400
 Facsimile: (404) 853-8806                    Westlake, OH 44145
 jimmcgibbon@eversheds-sutherland.com
 patriciagorham@eversheds-sutherland.com      Mailing Address:
 peterszeremeta@eversheds-sutherland.com      1540 Peach Drive
 katilincarreno@eversheds-sutherland.com      Avon, OH 44011
 dylandefouw@eversheds-sutherland.com
                                              MILLER SHAKMAN LEVINE &
 SMITHAMUNDSEN LLC                            FELDMAN LLP

 Clay H. Phillips                             Thomas M. Staunton
 150 N. Michigan Avenue, Ste 3300             Daniel M. Feeney
 Chicago, Illinois 60601                      180 North LaSalle Suite 3600
 Telephone: (312) 894-3200                    Chicago, IL 60601
 Facsimile: (312) 997-1828                    Telephone: 312-263-3700
 cphillips@salawus.com                        tstaunton@millershakman.com
                                              dfeeney@millershakman.com
 Attorneys for Defendant Harrison Poultry,
 Inc.                                         D.KLAR LAW

                                              Deborah A. Klar (admitted pro hac vice)
                                              Deborah A. Klar, Esq.
                                              2934 1/2 Beverly Glen Circle, Suite 761
                                              Bel Air, CA 90077
                                              Telephone: 310-858-9500
                                              dklar@dklarlaw.com

                                              Attorneys for Defendants Case Foods, Inc.,
                                              Case Farms, LLC, and Case Farms
                                              Processing, Inc.
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                                CERTIFICATE OF SERVICE

       I certify that on November 2, 2020, I electronically filed the foregoing document and any

attachments with the Clerk of this Court by using the CM/ECF system, which will accomplish

service through the Notice of Electronic Filing for parties and attorneys who are Filing Users.



                                                            /s/ Daniel E. Laytin, P.C.
